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             Exhibit A
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(302) 655-4423

mstachel@paulweiss.com

(302) 397-2682




                                              February 20, 2024




        VIA CM/ECF

        The Honorable Richard G. Andrews
        U.S. District Court for the District of Delaware
        844 N. King Street, Unit 9, Room 6325
        Wilmington, DE 19801-3555

        Re: International Construction Products LLC v. Caterpillar Inc., No. 1:15-cv-00108

        Dear Judge Andrews:

                We write on behalf of Plaintiff International Construction Products LLC (“ICP”) to
        respectfully request that the Court briefly continue the currently-scheduled April 5,
        2024 trial date (and corresponding pre-trial deadlines) to a trial during the period June 24-
        July 3, 2024 or July 22-August 12, 2024, which are available for both parties, subject to
        the Court’s availability. We have conferred with counsel for Defendant Caterpillar Inc.
        (“Caterpillar”). Caterpillar is prepared to proceed to trial (if necessary after the Court rules
        on Caterpillar’s pending motion for summary judgment) on the Court’s existing schedule
        without modification, but it does not oppose ICP’s request for a continuance, so long as
        Caterpillar’s counsel is available on the new date set by the Court, if the Court chooses a
        different date from those above.

                Your Honor scheduled the trial in this nine-year-old matter, which is anticipated to
        last five to seven days, to begin on April 5, 2024 (or as soon thereafter as convenient for
        the Court). D.I. 532 ¶ 10. The parties’ pre-trial submissions are presently due on March
        19, and the pre-trial conference is currently scheduled for March 22 (or as soon thereafter
        as convenient for the Court). Id. ¶ 9.

               ICP’s lead trial counsel, William Isaacson, now has another court-ordered four-
        week federal trial scheduled to begin on April 15, 2024. Le et al. v. Zuffa, LLC, Case No.
        2:15-cv-01045-RFB-BNW (D. Nev.) (originally filed in the Northern District of
        California, Case No. 5:14-cv-05484-EJD). That case also has been pending for almost ten
        years.
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      The Honorable Richard G. Andrews                                                            2


               Although Mr. Isaacson repeatedly advised the Honorable Richard F. Boulware II—
      the judge presiding over the Nevada case—of the trial date in this matter (and did so before
      Judge Boulware set the trial date in the Nevada case), Judge Boulware determined that the
      trial in the Nevada matter had to begin in mid-April, even though it overlapped with the
      trial date for this matter. In entering his order, Judge Boulware offered to speak with Your
      Honor directly to discuss the conflicting trial dates.

              ICP will be substantially prejudiced by anything but a brief adjournment of the trial
      in this matter. Mr. Isaacson is ICP’s chosen trial counsel and has represented ICP for many
      years. A brief extension of the trial date in this matter would balance those concerns and
      serve the interests of justice.

                                              Background

             Trial in this case was originally scheduled for February 5, 2024. D.I. 467
      ¶ 12. Earlier this year, on May 2, 2023, Your Honor rescheduled the trial in this matter,
      which is anticipated to last five to seven days, to begin on April 5, 2024. D.I. 532 ¶ 10.

              On January 19, 2024, however, Judge Boulware scheduled a four-week trial in the
      Nevada case to begin on April 15, 2024. Well before Judge Boulware set that trial date, as
      soon as it became apparent that trial in the Nevada case might be scheduled on overlapping
      dates with trial in this matter, Mr. Isaacson notified Judge Boulware of the conflict on three
      separate occasions: first, at an August 21, 2023 case management conference; then, in
      writing in a September 29, 2023 filing; and then again, during a November 21, 2023 motion
      hearing. (Ex. 1, Defendants’ Notice of Pre-Existing Conflict with Tentative Trial Date;
      Ex. 2, Excerpt from Transcript of November 21, 2023 Motion Hearing.) Nonetheless,
      Judge Boulware scheduled the trial in the Nevada case to begin April 15, 2024, and advised
      that he is “not going to move the trial date.” Judge Boulware explained that the Nevada
      case is older than this case, and that his trial schedule prevents the Nevada case from being
      scheduled until months later. Judge Boulware noted that he would be “happy to reach out
      to the Court in [this] case to let the Court know why [he] is not going to move the trial
      date.” (Ex. 2.)

                                               Argument

              ICP appreciates the complications its requested continuance may cause and
      apologizes for the resulting inconvenience. Absent the conflict with the Nevada case, ICP
      would not be requesting a continuance. ICP submits that it is critical that Mr. Isaacson be
      available to act as its lead trial counsel in this matter. Boies Schiller Flexner LLP (“Boies
      Schiller”) initially represented ICP when it first filed this case, but the lawyers from Boies
      Schiller who represented ICP are now at different firms. In 2020, when Mr. Isaacson left
      Boies Schiller to join Paul, Weiss, Rifkind, Wharton & Garrison (“Paul, Weiss”), ICP
      specifically chose Mr. Isaacson to continue to represent it and to litigate and try this
    Case 2:15-cv-01045-RFB-BNW Document 975-1 Filed 02/21/24 Page 4 of 17

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      The Honorable Richard G. Andrews                                                            3


      action. Mr. Isaacson has been leading this case and is the only Paul, Weiss partner who
      has worked on the matter, and, in ICP’s view, is indispensable to a trial of ICP’s claims.

              With the Nevada case set for trial on April 15, 2024, it would be impossible for Mr.
      Isaacson to attend pretrial proceedings for both trials, and it would be impossible to
      effectively prepare to try that case while he is in trial in this case. It would be highly
      prejudicial to ICP if it were required to try this matter without Mr. Isaacson, its chosen
      counsel.

              ICP recognizes that there remains the possibility that the Nevada case could be
      resolved without the need for a trial. Because of that possibility and because ICP has been
      eager to obtain relief in this matter, which has been pending for more than nine years, ICP
      had hoped that it would not be necessary to seek to move the trial date in this matter. But,
      because the pretrial conference in this matter is set for March 22, 2024, and the
      Nevada case has not yet resolved, ICP is making this request now, rather than waiting,
      which might be even more disruptive to the Court and the parties.

               This Court and other courts in the Third Circuit have previously adjusted trial
      schedules in light of counsel’s conflicts. E.g., Mitek Systems, Inc. v. TIS America Inc. et
      al., No. 12-1208-RGA (D. Del. June 26, 2014), ECF Nos. 80, 83 (rescheduling a hearing
      at the request of counsel in light of counsel’s scheduling conflict); Penneco Pipeline Corp.
      et al. v. K. Petroleum, Inc., No. 18-cv-00248 (W.D. Pa. Feb. 12, 2020), ECF Nos. 105, 110
      (granting a motion to continue trial where lead counsel had a scheduling conflict); Eva M.
      Coronel v. Bank of America, No. 19-cv-08492 (D. N.J. Dec. 27, 2022), ECF No. 276
      (same). Counsel for ICP respectfully requests a brief continuance, subject to the Court’s
      availability, due to this unavoidable conflict, so that ICP may be represented at trial by the
      counsel of its choice, who has long experience with the case and is indispensable.

             We are available at the Court’s convenience to discuss this request or address any
      questions Your Honor has.

                                               Respectfully submitted,

                                               /s/ Matthew D. Stachel

                                               Matthew D. Stachel (No. 5419)

      cc: All Counsel of Record (by CM/ECF)
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                       EXHIBIT 1
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      8
            Attorneys for Defendants Zuffa, LLC,
      9     and Endeavor Group Holdings, Inc.
     10
                                      UNITED STATES DISTRICT COURT
     11                                    DISTRICT OF NEVADA
     12     CUNG LE, NATHAN QUARRY, JON FITCH,               Case No.: 2:15-cv-01045-RFB-BNW
            BRANDON VERA, LUIS JAVIER VAZQUEZ,
     13                                                      DEFENDANTS’ NOTICE OF PRE-
            and KYLE KINGSBURY, on behalf of themselves
                                                             EXISTING CONFLICT WITH
     14     and all others similarly situated,               TENTATIVE TRIAL DATE
     15                             Plaintiffs,
                     v.
     16

     17
            ZUFFA, LLC (d/b/a Ultimate Fighting
     18     Championship and UFC),

     19                              Defendants.
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                   DEFENDANTS’ NOTICE OF PRE-EXISTING CONFLICT WITH TENTATIVE TRIAL DATE
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      1           Defendants Zuffa, LLC, and Endeavor Group Holdings, Inc., respectfully file this notice

      2    to bring to the Court’s attention undersigned counsel’s pre-existing conflict with the tentative trial

      3    date recently set in Le v. Zuffa, LLC, No. 2:15-cv-01045-RFB-BNW.

      4           On September 5, 2023, the Court notified counsel that it had tentatively set the Le matter

      5    for trial on Monday, April 8, 2024. As previewed during the August 22, 2023, case management

      6    conference, the undersigned lead counsel for Defendant Zuffa has a conflict with that trial date.

      7    Hr’g Tr. 33 (Aug. 22, 2023), ECF No. 846. By Order dated May 2, 2023, undersigned counsel is

      8    scheduled to begin a 5-7 day jury trial in International Construction Products LLC v. Caterpillar

      9    Inc., C.A. No. 15-108-RGA-SRF (D. Del.), on Friday, April 5, 2024. Dkt. 532.

     10            In addition, the undersigned counsel has a status conference in United States of America,

     11    et al. v. Google LLC, C.A. No. 1:23cv0108 (LMB/JFA) (E.D.V.A.), scheduled for March 15, 2024,

     12    in which counsel anticipates a multiweek trial will be set for May and/or June 2024. The

     13    government has requested a May 2024 trial date.

     14
     15    Dated: September 29, 2023                      Respectfully submitted,
     16

     17                                                   By      /s/ William A. Isaacson

     18                                                   William A. Isaacson (pro hac vice)
                                                          PAUL, WEISS, RIFKIND, WHARTON &
     19                                                   GARRISON LLP
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     21
                                                          Donald J. Campbell (Nev. Bar No. 1216)
     22                                                   J. Colby Williams (Nev. Bar No. 5549)
                                                          CAMPBELL & WILLIAMS
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     24                                                   Las Vegas, NV 89101

     25                                                   Attorneys for Defendants Zuffa, LLC, and Endeavor
                                                          Group Holdings, Inc.
     26
     27

     28

                                                           -1-
                  DEFENDANTS’ NOTICE OF PRE-EXISTING CONFLICT WITH TENTATIVE TRIAL DATE
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                       EXHIBIT 2
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                                       2:15-cv-01045-RFB-BNW


        1                         UNITED STATES DISTRICT COURT

        2                               DISTRICT OF NEVADA

        3

        4 CUNG LE, et al.,                       )
                                                 )
        5                    Plaintiffs,         )   Case No. 2:15-cv-01045-RFB-BNW
                                                 )
        6           vs.                          )   Las Vegas, Nevada
                                                 )   Friday, November 21, 2023
        7 ZUFFA, LLC, d/b/a Ultimate             )   11:36 a.m.
          Fighting Championship and              )
        8 UFC,                                   )   MOTION HEARING
                                                 )
        9                    Defendants.
                                                     C E R T I F I E D     C O P Y
       10

       11

       12

       13                    REPORTER'S TRANSCRIPT OF PROCEEDINGS

       14                   THE HONORABLE RICHARD F. BOULWARE, II,
                                 UNITED STATES DISTRICT JUDGE
       15

       16

       17

       18

       19 APPEARANCES:             See Pages 2 and 3

       20

       21
            COURT REPORTER:        Patricia L. Ganci, RMR, CRR
       22                          United States District Court
                                   333 Las Vegas Boulevard South, Room 1334
       23                          Las Vegas, Nevada 89101

       24
          Proceedings reported by machine shorthand, transcript produced
       25 by computer-aided transcription.


                          PATRICIA L. GANCI, RMR, CRR - (702) 385-0670
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        1 APPEARANCES:
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       25


                        PATRICIA L. GANCI, RMR, CRR - (702) 385-0670
      Case 2:15-cv-01045-RFB-BNW Document 975-1 Filed 02/21/24 Page 11 of 17

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        1 issue a separate written order.           My reasons outlined here today

        2 on the record as well as the reasons that I will include in the

        3 minute order will be the final order of the Court as relates to

        4 these motions.

        5             Any questions, Mr. Cramer, about what the Court has

        6 ordered today?

        7             MR. CRAMER:     No, Your Honor.      Thank you.

        8             THE COURT:     Mr. Yates, any questions about that?

        9             MR. YATES:     No, Your Honor.

       10             MR. ISAACSON:      Your Honor, no questions, but just, you

       11 know, I had previously informed you I have a trial date on the

       12 same -- on the same date.         And there are motions pending in that

       13 case.

       14             THE COURT:     As I understand it, Mr. Isaacson, that case

       15 is not as old as this case.          This case is much older than the

       16 case at least that I thought that you had identified.                I'm happy

       17 to reach out to the Court in that case to let the Court know why

       18 I'm not going to move the trial date, but I don't intend to move

       19 the trial date, in part, because of my own trial schedule.                 I

       20 can't try the case much later without it pushing months later in

       21 my own schedule, and so the window that I've given you is the

       22 window that I have.        But I'm not going to move the trial date at

       23 this point in time.

       24             MR. ISAACSON:      All right, Your Honor.

       25             THE COURT:     All right.     Mr. Cramer?


                        PATRICIA L. GANCI, RMR, CRR - (702) 385-0670
      Case 2:15-cv-01045-RFB-BNW Document 975-1 Filed 02/21/24 Page 12 of 17

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        2                                      --oOo--

        3                         COURT REPORTER'S CERTIFICATE

        4

        5           I, PATRICIA L. GANCI, Official Court Reporter, United

        6 States District Court, District of Nevada, Las Vegas, Nevada,

        7 certify that the foregoing is a correct transcript from the

        8 record of proceedings in the above-entitled matter.

        9

       10 Date:     November 21, 2023.

       11                                             /s/ Patricia L. Ganci

       12                                             Patricia L. Ganci, RMR, CRR

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                        PATRICIA L. GANCI, RMR, CRR - (702) 385-0670
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

    INTERNATIONAL CONSTRUCTION                       )
    PRODUCTS LLC,                                    )
                                                     )
                       Plaintiff,                    )
                                                     )    C.A. No. 15-108-RGA-SRF
           v.                                        )
                                                     )
    CATERPILLAR INC. et al.,                         )
                                                     )
                       Defendants.                   )
                                                     )

            CERTIFICATION OF COUNSEL PURSUANT TO LOCAL RULE 7.1.1

          I, Matthew D. Stachel, counsel for plaintiff International Construction Products LLC

   (“Plaintiff”), hereby certify that on February 13, 14, 16, and 18-20 counsel for Plaintiff, including

   Delaware counsel, has conferred (including orally) with counsel for defendant Caterpillar Inc.,

   including Delaware counsel, regarding Plaintiff’s request for a continuance of the trial currently

   scheduled for April 5, 2024 (and corresponding pretrial deadlines, including the pretrial conference

   currently scheduled for March 22, 2024). As noted in the request, Defendant Caterpillar does not

   oppose ICP’s request so long as Caterpillar and its counsel is available on any rescheduled dates.




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                                          PAUL, WEISS, RIFKIND,
                                          WHARTON & GARRISON LLP

                                             By: /s/ Matthew D. Stachel
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   David E. Cole (pro hac vice)                  Tel.: (302) 655-4410
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   amauser@paulweiss.com
   dcole@paulweiss.com

   Dated: February 20, 2024




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                         CERTIFICATION OF WILLIAM A. ISAACSON

          I, William A. Isaacson, lead counsel for Plaintiff, International Construction Products,

   LLC, hereby certify under penalties of perjury as provided by federal law that I have discussed the

   foregoing request for a continuance of trial and forwarded my client a draft of the request and that

   my client, International Construction Products, LLC, approves of and has authorized the filing of

   this request for extension.

                                                      PAUL, WEISS, RIFKIND,
                                                      WHARTON & GARRISON LLP

    Of Counsel:                                       By:     /s/ William A. Isaacson
                                                            William A. Isaacson
    PAUL, WEISS, RIFKIND,
    WHARTON & GARRISON LLP

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    Dated: February 20, 2024
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

     INTERNATIONAL CONSTRUCTION
     PRODUCTS LLC,

                            Plaintiff,

            v.                                                   Case No. 15-cv-108-RGA-SRF

     CATERPILLAR INC., et al,

                            Defendants,



     [PROPOSED] ORDER GRANTING UNOPPOSED REQUEST FOR CONTINUANCE

          Upon consideration of Plaintiff International Construction Products LLC’s (“ICP”)

   unopposed request for a continuance of the currently-scheduled April 5, 2024 trial date (and

   corresponding pre-trial deadlines, including the currently-scheduled March 22, 2024 pretrial

   conference) and all papers submitted in connection therewith, it is HEREBY ORDERED THIS

   ___ day of ________, 2024, that:

          1.      ICP’s request is GRANTED.

          2.      On _________________, 2024 (or as soon thereafter as convenient for the

   Court), the Court will hold a Rule 16(e) final pretrial conference in Court with counsel beginning

   at 9:00 a.m. The parties shall file a joint proposed final pretrial order in compliance with Local

   Rule 16.3(c) no later than 5 p.m. on the third business day before the date of the final pretrial

   conference. Unless otherwise ordered by the Court, the parties shall comply with the timeframes

   set forth in Local Rule 16.3(d) for the preparation of the proposed joint final pretrial order.

          3.      The matter is scheduled for a 5-7 day jury trial beginning at 9:30 a.m. on

   ______________________, 2024 (or as soon thereafter as convenient for the Court), with the




                                                     1
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   subsequent trial days beginning at 9:00 a.m.         Until the case is submitted to the jury for

   deliberations, the jury will be excused each day at 4:30 p.m. The trial will be timed, as counsel

   will be allocated a total number of hours in which to present their respective cases.



                                                 _____________________________________
                                                 The Hon. Richard G. Andrews
                                                 United States District Court Judge




                                                    2
